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 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                )
                                              )    2:12-cr-00027-GEB
11                    Plaintiff,              )
                                              )
12               v.                           )    TENTATIVE RULING RE
                                              )    OBJECTIONS TO PRESENTENCE
13   RANI RACHANA SINGH-LAL,                  )    REPORT
                                              )
14                 Defendant.                 )
     ________________________________         )
15
16               Each party makes formal objections to the Presentence Report

17   (“PSR”). The objections are addressed in turn.

18         A.    Six Point Enhancement under Section 2L1.1(b)(2)(B)

19               Defendant objects to paragraph twenty-nine of the PSR, in

20   which the United States Probation Officer (“Probation”) recommends a

21   six-level    enhancement      under    U.S.   Sentencing     Guidelines      Manual

22   (“Sentencing     Guidelines”)    §    2L1.1(b)(2)(B)   for    an   offense    that

23   “involve[s] the smuggling, transporting, or harboring” of 25 or more

24   unlawful aliens.

25   ///

26   ///

27   ///

28   ///


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 1             The basis for Probation’s application of this enhancement is
 2   as follows:
 3             The conspiracy involved more than 25 petitions
               submitted on behalf of aliens. The defendant’s
 4             criminal conduct assisted in aliens residing in the
               United States unlawfully based on fraudulent
 5             petitions. It was reasonably foreseeable that these
               aliens would have to travel in order to obtain
 6             entry, and the defendant and her codefendants’
               conduct assisted them in having their means of
 7             transportation approved via fraudulent petitions.
               Although the defendant did not personally transport
 8             or harbor any of the aliens, pursuant to USSG [§]
               1B1.3(a)(1)(B), the defendant is held for all
 9             foreseeable acts and omissions of others in the
               furtherance of the jointly undertaken criminal
10             activity. Pursuant to [section] 2L1.1(b)(2)(B),
               [six] levels are added because the offense involved
11             the smuggling, transporting, or harboring of 25 or
               more unlawful aliens.
12
13   (PSR ¶ 29.)
14             Defendant argues:
15                  While U.S.S.G. §2L1.1 is entitled “Smuggling,
               Transporting, or Harboring an Unlawful Alien,” it
16             encompasses and is applicable to all variants of
               offenses concerning aliens contained within 8
17             U.S.C. § 1324(a) . . . .
18             [Defendant’s charged offense] does not in and of
               itself involve actual smuggling, transporting[,] or
19             harboring of . . . aliens unless there is evidence
               to the contrary. Therefore, an offense that comes
20             under the purview of U.S.S.G. 2L1.1 for offense
               level scoring will not always involve application
21             of the enhancement for the number of aliens
               involved, unless there is evidence of actual
22             smuggling, transporting or harboring of those
               aliens.
23
24   (Def.’s Objections to the Presentence Report (“Def.’s Objs.”) 2:14-16,
25   3:7-12, ECF No. 104.) Defendant further argues:
26             The object of the fraudulent marriage scheme . . .
               that [Defendant] participated in, was to provide
27             United States citizens as brides (and sometimes
               grooms) to Indian nationals. Sippy Lal would then
28             prepare and file petitions seeking either fiancé or
               immediate relative visas for the Indians. It was

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 1             foreseeable that if a petition was successful, then
               the Indian national could gain a visa and might
 2             then bring himself into the United States. That is
               all. This constitutes the offense of “encouraging
 3             or inducing” aliens to enter the country. It does
               not amount to actual smuggling or transporting of
 4             aliens and no smuggling or transporting was carried
               out by any of the participants here. This was not a
 5             smuggling and transporting operation.
 6                  Nor was there any “harboring” of illegal
               aliens . . . . If Sippy Lal and his wife, Mamta
 7             Sharma, provided additional services to any Indian
               nationals who later entered the country on visas
 8             obtained by their efforts, . . . then it is the
               Government’s burden to prove that . . . . As it
 9             stands, the Government has provided no evidence
               that Sippy Lal and Sharma somehow “harbored” six or
10             more aliens who entered the country on these visas.
               All that is known is the single statement on page 6
11             of the PSR: “[a]fter the petitions were successful,
               and the Indian national would gain entry into the
12             United States, Sharma or [Sippy] Lal would arrange
               to show up at the U.S. Citizenship and Immigration
13             Services (USCIS) to assist the nationals in
               obtaining United States citizenship.” The source of
14             that statement is unknown and, in any event, that
               is not enough.
15
                    In sum, the Probation Officer reasoned that
16             the   smuggling,   transporting[,]   or   harboring
               enhancement applies because there were 25 or more
17             petitions filed by Sippy Lal and it was foreseeable
               that 25 or more aliens could thereby obtain visas
18             and then could travel to the United States. Any
               aliens who did bring themselves to this country in
19             this fashion were not smuggled or transported by
               the defendants or any other participants; self
20             travel to the United States does not amount to
               being smuggled or transported by another. . . .
21             And, significantly, there exists no evidence
               whatsoever that either 6 or more or 25 or more
22             Indian nationals ever entered the United States as
               a result of the fraudulent petitions. In sum, the
23             Probation Officer’s conclusion is unsupported by
               the facts and is entirely speculative.
24
25   (Id. 6:26-8:2.)
26             The government counters:
27                  [Section 2L1.1] includes multiple specific
               offense characteristics that relate to the nature
28             and severity of the offense. However, the only
               provision that accounts for the scope of the

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 1               offense based on the number of aliens involved is
                 set forth in [subsection (b)(2)].[Defendant]
 2               encourages the Court to construe this provision as
                 only applying to smuggling, transporting, and
 3               harboring offenses. . . . If [Defendant’s] position
                 were correct, then under what she concedes is the
 4               applicable guideline, there would be no distinction
                 between an offense which involves only a single
 5               petition, and one (like her own) which involves
                 well over 25 petitions. . . . It would make little
 6               sense not to account for the scope of defendant's
                 offense simply because the crime involved “inducing
 7               and    encouraging”   rather    than    “smuggling,
                 transporting, and harboring.”
 8
 9   (Gov’t’s Sentencing Reply Br. (“Gov’t’s Reply”) 2:14-22, 3:27-4:1, ECF
10   No. 107.)
11               The   government   further       rejoins:   “While    there     is   scant
12   authority on the precise issue raised in this case, there are at least
13   two Eleventh Circuit cases applying § 2L1.1(b)(2) to conduct that
14   closely resembles that of the defendants in this case[,]” specifically,
15   United States v. Martinez, 365 F. App’x 169 (11th Cir. 2010), and United
16   States v. Evans, 188 F. App’x 878 (11th Cir. 2006). (Id. at 3:12-14.)
17               In the alternative, the government counters that “the conduct
18   in this case qualifies as a conspiracy to ‘harbor’ as some federal
19   courts have defined it.” (Id. 4:8-9.) The government argues: “there can
20   be   no   dispute    that   the   conspiracy       involved      ‘conduct    tending
21   substantially to facilitate an alien[] remaining in the United States
22   illegally and to prevent government authorities from detecting his
23   unlawful presence.’” (Id. at 4:22-24 (quoting United States v. Myung Ho
24   Kim, 193 F.3d 567, 575 (2d Cir. 1999).)
25               Defendant replies that the “Government has not and cannot
26   provide any supporting case law or other authority” for its contention
27   that section 2L1.1(b)(2) “automatically appl[ies] to all offenses that
28   come under the purview of § 2L1.1 without regard to the facts and the


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 1   evidence.” (Def.’s Reply to Gov’t’s Formal Objection to the Presentence
 2   Report and to Gov’t’s Sentencing Mem. (“Def’s Reply”) 2:11-14, ECF No.
 3   108.)    Defendant    further     replies          that    “[i]n      neither   of    the   [two
 4   unpublished 11th Circuit decisions on which the Government relies] was
 5   the    sufficiency    of   the    evidence     for        the   enhancement     at    issue   on
 6   appeal[,]” and both cases involved conduct of “‘harboring’ aliens within
 7   the United States” with “evidence, documentary and otherwise, that
 8   proved the number of aliens who had been harbored.” (Id. at 2:22-23,
 9   3:16-24.)
10               Section 2L1.1(b)(2) prescribes: “If the offense involved the
11   smuggling, transporting, or harboring of six or more unlawful aliens,
12   increase [the base offense level]” by three for 6-24 aliens, six for
13   25-99 aliens, and nine for 100 or more aliens. (emphasis added).
14               Application      of   the    six       level    enhancement      would    increase
15   Defendant’s advisory sentencing guideline range from eighteen to twenty-
16   four    months   to   thirty-three       to    forty-one         months.     Therefore,       the
17   government bears the burden of proving application of the enhancement by
18   clear and convincing evidence. United States v. Staten, 466 F.3d 708,
19   720 (9th Cir. 2006).
20               The government has provided no authority to support its
21   argument that section 2L1.1(b)(2) applies without evidence that the
22   offense involved the smuggling, transportation, or harboring of six or
23   more aliens. The government’s argument essentially reads the phrase
24   “smuggling,      transporting,      or    harboring”            out    of   this     Sentencing
25   Guidelines subsection. Further, insufficient evidence exists in the
26   sentencing record to support the government’s alternative argument that
27   six or more aliens were “harbored” by members of the conspiracy.
28   “Harboring    means    any   conduct     that        ‘substantially         facilitate[s]      an


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 1   alien’s remaining in the United States illegally.” United States v.
 2   Tipton, 518 F.3d 591, 595 (8th Cir. 2008) (emphasis added); see also
 3   Ninth Cir. Model Crim. Jury Inst. 9.3 (2010) (including as an element of
 4   harboring under 8 U.S.C. § 1324(a)(1)(A)(iii) that the alien “was not
 5   lawfully in the United States”). The government has not shown by clear
 6   and convincing evidence that six or more, or twenty-five or more, aliens
 7   were in the United States as a result of the offense conduct, which is
 8   a   necessary     prerequisite      to   them   being   “harbored,”       i.e.,   the
 9   facilitation of an alien remaining in the United States illegally.
10                For the stated reasons, Defendant’s objection to application
11   of section 2L1.1(b)(2)’s six-level enhancement is sustained. Therefore,
12   Defendant’s offense level is thirteen, and the advisory sentencing
13   guideline range is eighteen to twenty-four months.
14        B.      Assistance in Filing Petitions
15                Defendant also objects to the statements in paragraphs 12 and
16   30 of the PSR in which it states that Defendant assisted in preparing
17   and/or filing petitions on behalf of Indian nationals with immigration
18   authorities.      (Def.’s   Objs.   8:12-9:23.)    Defendant    argues     that   she
19   “provided no ‘assistance’ to anyone to prepare or file fiancé and alien
20   relative petitions that are the subject of this offense[,] and there is
21   no evidence that she did so.” (Id. at 8:17-18.)
22                This objection is sustained.
23        C.      Probation’s Recommendation for a Downward Variance
24                The government objects to Probation’s recommended downward
25   variance in paragraph eighty-three of the PSR. (Gov’t’s Formal Objection
26   to Presentence Report (“Gov’t’s Obj.”) 1:18-19, ECF No. 106.) Probation
27   stated     a downward “variance from the guideline is appropriate to avoid
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 1   unwarranted sentence disparities” among defendants with similar records
 2   who have been found guilty of similar conduct. (PSR ¶ 83.)
 3                Decision on this objection is unnecessary in light of the
 4   above ruling on the six-level enhancement under section 2L1.1(b)(2)(B).
 5   Dated:     August 1, 2013
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 7
                                         GARLAND E. BURRELL, JR.
 8                                       Senior United States District Judge

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